            Case 5:22-cv-03123-JWL Document 52 Filed 05/23/23 Page 1 of 1
Appellate Case: 23-3093                Document: 010110863687               Date Filed: 05/23/2023      Page: 1
                                   UNITED STATES DISTRICT COURT
                                                OFFICE OF THE CLERK
                                                DISTRICT OF KANSAS

                                            259 ROBERT J. DOLE U.S. COURTHOUSE
                                                    500 STATE AVENUE
                                                   KANSAS CITY, KS 66101


         6.</(5%2 +$5$                                                               204 U.S.COURTHOUSE
                   CLERK                                                                    401 N. MARKET
    (MAIL: 6N\OHUB2+DUD@ksd.uscourts.gov                                                  WICHITA, KS 67202
                 735-
                                                     May 23, 2023
            KIM LEININGER                                                                490 U.S.COURTHOUSE
           CHIEF DEPUTY CLERK                                                               444 NE QUINCY
   E-MAIL: Kim_Leininger@ksd.uscourts.gov                                                  TOPEKA, KS 66683
               (913) 735-2205




 SEE NOTICE OF ELECTRONIC FILING

 3UR6H7RSHNDRU$SSHDO

 RE: Anthony S. Kidd v. Jeremy Baker, et al.
 District Court Case No.:            22-3123-JWL
 Notice of Appeal filed by: Anthony S. Kidd
 Fee Status:                         Not Paid




         The following documents are for the parties in connection with the Notice of Appeal:
 Notice of Appeal and Copy of the Docket Sheet.

       If you have any questions, please contact the Office of the Clerk of the U.S. Court of
 Appeals in Denver, Colorado at (303)844-3157.




                                                                          Sincerely,
                                                                          6.</(5%2 +$5$
                                                                          CLERK OF COURT
                                                                              s/S. Nielsen-Davis
                                                                          By: _______________________
                                                                          Deputy Clerk



 Cc: Clerk, U.S. Court of Appeals
        (Notice of Appeal, Docket Sheet, & Preliminary Record)
         Case 5:22-cv-03123-JWL Document 52-1 Filed 05/23/23 Page 1 of 17
Appellate Case: 23-3093        Document: 010110863687           Date Filed: 05/23/2023          Page: 2


                                                                               CLOSED,APPEAL,PLC4,S1
                                  U.S. District Court
                            DISTRICT OF KANSAS (Topeka)
                    CIVIL DOCKET FOR CASE #: 5:22−cv−03123−JWL

   Kidd (ID 93399) v. Baker et al                                 Date Filed: 06/17/2022
   Assigned to: District Judge John W. Lungstrum                  Date Terminated: 12/07/2022
   Case in other court: 10CCA, 22−03285                           Jury Demand: None
   Cause: 42:1983 Prisoner Civil Rights                           Nature of Suit: 550 Prisoner: Civil Rights
                                                                  Jurisdiction: Federal Question
   Plaintiff
   Anthony S. Kidd                                 represented by Anthony S. Kidd
   93399                                                          93399
                                                                  EL DORADO Correctional
                                                                  Facility−Central
                                                                  PO Box 311
                                                                  El Dorado, KS 67042
                                                                  Email: KDOC_court_file_edcf@ks.gov
                                                                  PRO SE
                                                                  Bar Number:
                                                                  Bar Status:


   V.
   Defendant
   Jeremy Baker                                    represented by Matthew Lee Shoger
   Correctional Officer, Larned                                   Office of Kansas Attorney General Derek
   Correctional Mental Health Facility, in                        Schmidt
   individual capacity                                            Legal Services
                                                                  120 SW 10th Avenue, 2nd Floor
                                                                  Topeka, KS 66612
                                                                  785−296−2215
                                                                  Fax: 785−291−3767
                                                                  Alternative Phone: 316−209−5135
                                                                  Cell Phone: 316−209−5135
                                                                  Email: matt.shoger@ag.ks.gov
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED
                                                                  Bar Number: 28151
                                                                  Bar Status: Active

                                                                  Dennis D. Depew
                                                                  Office of Attorney General − Kansas
                                                                  120 SW 10th Avenue
                                                                  Topeka, KS 66612−1597
                                                                  785−368−8426
                                                                  Fax: 785−291−3767
                                                                  Alternative Phone:


                                                                                                               1
         Case 5:22-cv-03123-JWL Document 52-1 Filed 05/23/23 Page 2 of 17
Appellate Case: 23-3093        Document: 010110863687         Date Filed: 05/23/2023    Page: 3


                                                              Cell Phone: 620−332−7180
                                                              Email: dennis.depew@ag.ks.gov
                                                              TERMINATED: 11/04/2022
                                                              Bar Number: 11605
                                                              Bar Status: Active

   Defendant
   Tyler Jones                               represented by Matthew Lee Shoger
   Correctional Officer, Larned                             (See above for address)
   Correctional Mental Health Facility, in                  LEAD ATTORNEY
   individual capacity                                      ATTORNEY TO BE NOTICED
                                                            Bar Number: 28151
                                                            Bar Status: Active

                                                              Dennis D. Depew
                                                              (See above for address)
                                                               TERMINATED: 11/04/2022
                                                              Bar Number: 11605
                                                              Bar Status: Active

   Defendant
   Michael Falck                             represented by Matthew Lee Shoger
   Correctional Officer, Larned                             (See above for address)
   Correctional Mental Health Facility, in                  LEAD ATTORNEY
   individual capacity                                      ATTORNEY TO BE NOTICED
                                                            Bar Number: 28151
                                                            Bar Status: Active

                                                              Dennis D. Depew
                                                              (See above for address)
                                                               TERMINATED: 11/04/2022
                                                              Bar Number: 11605
                                                              Bar Status: Active

   Defendant
   Jason Vsetecka                            represented by Matthew Lee Shoger
   Correctional Officer, Larned                             (See above for address)
   Correctional Mental Health Facility, in                  LEAD ATTORNEY
   individual capacity                                      ATTORNEY TO BE NOTICED
                                                            Bar Number: 28151
                                                            Bar Status: Active

                                                              Dennis D. Depew
                                                              (See above for address)
                                                               TERMINATED: 11/04/2022
                                                              Bar Number: 11605
                                                              Bar Status: Active

   Defendant
                                             represented by


                                                                                                  2
         Case 5:22-cv-03123-JWL Document 52-1 Filed 05/23/23 Page 3 of 17
Appellate Case: 23-3093         Document: 010110863687           Date Filed: 05/23/2023        Page: 4


   (fnu) Simmons                                                  Matthew Lee Shoger
   Correctional Officer, Larned                                   (See above for address)
   Correctional Mental Health Facility, in                        LEAD ATTORNEY
   individual capacity                                            ATTORNEY TO BE NOTICED
                                                                  Bar Number: 28151
                                                                  Bar Status: Active

                                                                  Dennis D. Depew
                                                                  (See above for address)
                                                                   TERMINATED: 11/04/2022
                                                                  Bar Number: 11605
                                                                  Bar Status: Active

   Defendant
   John Doe
   Correctional Officer, Larned
   Correctional Mental Health Facility, in
   individual capacity

   Interested Party
   Kansas Department of Corrections                represented by Jon D. Graves
                                                                  Hutchinson Correctional Facility
                                                                  PO Box 1568
                                                                  Hutchinson, KS 67504−1568
                                                                  620−625−7253
                                                                  Fax: 620−728−3262
                                                                  Alternative Phone:
                                                                  Cell Phone: 620−899−1240
                                                                  Email: Jon.Graves@ks.gov
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED
                                                                  Bar Number: 10554
                                                                  Bar Status: Active

                                                                  Natasha M. Carter
                                                                  Kansas Department of Corrections
                                                                  714 SW Jackson Street, Suite 300
                                                                  Topeka, KS 66603
                                                                  785−506−7615
                                                                  Alternative Phone:
                                                                  Cell Phone:
                                                                  Email: natasha.carter@ks.gov
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED
                                                                  Bar Number: 26074
                                                                  Bar Status: Active
   Email All Attorneys
   Email All Attorneys and Additional Recipients

    Date Filed        #   Docket Text


                                                                                                         3
        Case 5:22-cv-03123-JWL Document 52-1 Filed 05/23/23 Page 4 of 17
Appellate Case: 23-3093     Document: 010110863687               Date Filed: 05/23/2023          Page: 5


    06/17/2022   1   COMPLAINT filed by Plaintiff Anthony S. Kidd. (Attachments: # 1 Cover Sheet, # 2
                     Exhibits in Support) (jal) (Entered: 06/17/2022)
    06/17/2022   2   MOTION for Leave to Proceed in forma pauperis by Plaintiff Anthony S. Kidd.
                     (Attachments: # 1 Inmate Account Statement, # 2 IFP Affidavit) (jal) (Entered:
                     06/17/2022)
    06/17/2022   3   MOTION to Appoint Counsel by Plaintiff Anthony S. Kidd. (Attachments: # 1
                     Exhibits in Support) (jal) (Entered: 06/17/2022)
    06/22/2022   4   ORDER ENTERED: Plaintiff's motion to proceed in forma pauperis 2 is granted. The
                     Court assesses an initial partial filing fee of $45.50, calculated under 28 U.S.C. §
                     1915(b)(1). Plaintiff is granted to and including July 6, 2022, to submit the fee. Any
                     objection to this order must be filed on or before the date payment is due. The failure
                     to pay the fee as directed may result in the dismissal of this matter without further
                     notice. Plaintiff remains obligated to pay the remainder of the $350.00 filing fee. The
                     agency having custody of plaintiff shall forward payments from plaintiff's account in
                     installments calculated under 28 U.S.C. § 1915(b)(2). The clerk is to transmit a copy
                     of this order to plaintiff, to the finance office at the institution where plaintiff is
                     currently confined, and to the court's finance office. Signed by U.S. Senior District
                     Judge Sam A. Crow on 06/22/22. Mailed to pro se party Anthony S. Kidd by regular
                     mail. (This is a TEXT ENTRY ONLY. There is no.pdf document associated with this
                     entry.) (smnd) (Entered: 06/22/2022)
    07/05/2022   5   NOTICE to the Court re 4 Order on Motion for Leave to Proceed in forma pauperis by
                     Plaintiff Anthony S. Kidd. (jal) (Entered: 07/05/2022)
    07/22/2022       FILING FEE PAID: in the amount of $ 350.00, receipt number T4631015968. (jal)
                     (Entered: 07/22/2022)
    08/03/2022   6   MEMORANDUM AND ORDER ENTERED: Plaintiff's Motion for Appointment of
                     Counsel (Doc. 3 ) is denied without prejudice. The Court will enter a separate
                     e−service order directing the Clerk of Court to serve Defendants. The Kansas
                     Department of Corrections ("KDOC") shall submit the Martinez Report within sixty
                     (60) days following the electronic filing of the Waiver of Service Executed. Upon the
                     filing of that Report, the Court will screen Plaintiff's Complaint. If the Complaint
                     survives screening, the Court will enter a separate order setting an answer deadline.
                     Officials responsible for the operation of the LCMHF are directed to undertake a
                     review of the subject matter of the Complaint. The Clerk of Court shall enter KDOC as
                     an interested party on the docket for the limited purpose of preparing the Martinez
                     Report. Upon the filing of that report, KDOC may move for termination from this
                     action. Signed by U.S. Senior District Judge Sam A. Crow on 08/03/22. Mailed to pro
                     se party Anthony S. Kidd by regular mail; e−mailed to the Attorney General for the
                     State of Kansas. (smnd) (Entered: 08/03/2022)
    08/03/2022   7   SERVICE ORDER ENTERED: The Clerk of the Court shall notify the Kansas
                     Attorney General ("AG") and the KDOC of this Service Order. The Court requests that
                     Defendants waive formal service of process. The AG and/or the KDOC shall have
                     thirty (30) days from entry of this Service Order to file a Waiver of Service Executed
                     and/or a Waiver of Service Unexecuted. Upon the electronic filing of the Waiver of
                     Service Executed, KDOC shall have sixty (60) days to prepare a report pursuant to
                     Martinez v. Aaron. Upon the filing of that report, the Court will screen Plaintiff's
                     Complaint and will enter an order setting an answer deadline if the Complaint survives
                     screening. Any answer deadline set forth in the waiver of service is not controlling. In


                                                                                                                4
        Case 5:22-cv-03123-JWL Document 52-1 Filed 05/23/23 Page 5 of 17
Appellate Case: 23-3093       Document: 010110863687              Date Filed: 05/23/2023           Page: 6


                      those cases where a Waiver of Service Unexecuted is filed, the KDOC shall have ten
                      (10) days from the filing of the Waiver of Service Unexecuted, to supply the Clerk of
                      Court with the last known forwarding addresses for former employees, said addresses
                      to be placed under seal and used only for the purpose of attempting to effect service of
                      process. Signed by U.S. Senior District Judge Sam A. Crow on 08/03/22. Mailed to
                      pro se party Anthony S. Kidd by regular mail; e−mailed to the Attorney General for
                      the State of Kansas. (smnd) (Entered: 08/03/2022)
    09/07/2022    8   WAIVER OF SERVICE Returned Executed − Prisoner Case by (fnu) Simmons, Tyler
                      Jones, Jeremy Baker, Michael Falck, Jason Vsetecka. (fnu) Simmons waiver sent on
                      9/7/2022, answer due 11/7/2022; Tyler Jones waiver sent on 9/7/2002, answer due
                      11/6/2002; Jeremy Baker waiver sent on 9/7/2022, answer due 11/7/2022; Michael
                      Falck waiver sent on 9/7/2022, answer due 11/7/2022; Jason Vsetecka waiver sent on
                      9/7/2022, answer due 11/7/2022. (Depew, Dennis) (Entered: 09/07/2022)
    10/07/2022    9   MINUTE ORDER REASSIGNING CASE: Case reassigned to District Judge John W.
                      Lungstrum and Magistrate Judge James P. O'Hara for all further proceedings. District
                      Judge Sam A. Crow no longer assigned to case. Signed by deputy clerk on 10/7/22.
                      Mailed to pro se party Anthony S. Kidd 93399 EL DORADO Correctional
                      Facility−Central PO Box 311 El Dorado, KS 67042 by regular mail. (This is a TEXT
                      ENTRY ONLY. There is no.pdf document associated with this entry.)(kao) (Entered:
                      10/07/2022)
    10/14/2022   10   SEALED MOTION for Leave to File Under Seal Exhibit 15, Exhibit 16 and Exhibit
                      17 by Interested Party Kansas Department of Corrections (Attachments: # 1 Exhibit
                      Exhibit 15 Video to be filed conventionally, # 2 Exhibit 16, # 3 Exhibit 17) (Graves,
                      Jon). Added MOTION FOR LEAVE to File Conventionally on 10/14/2022. (mls).
                      (Entered: 10/14/2022)
    10/18/2022        MOTION REFERRAL to Magistrate Judge REMOVED as to: 10 SEALED
                      MOTION for Leave to File Under Seal Exhibit 15, Exhibit 16 and Exhibit 17
                      MOTION FOR LEAVE to File Conventionally. The motion will be resolved by
                      the District Judge.(ss) (Entered: 10/18/2022)
    10/18/2022   11   ORDER ENTERED: The Motion to File Under Seal and Conventionally Exhibit 15
                      and File Under Seal Exhibits 16 and 17 to Investigative Report Prepared Pursuant to
                      "Martinez v. Aaron" (Doc. 10 ) is granted to the extent that Exhibit 15 shall be filed
                      under seal and conventionally, and Exhibits 16 and 17 shall be filed under seal.
                      Movant shall provide Plaintiff with a copy of Exhibit 17 and shall allow Plaintiff to
                      view Exhibit 15. Plaintiff shall not be allowed access to Exhibit 16. Signed by District
                      Judge John W. Lungstrum on 10/18/2022. Mailed to pro se party Anthony S. Kidd by
                      regular mail. (jal) (Entered: 10/18/2022)
    10/21/2022   12   MARTINEZ REPORT by Interested Party Kansas Department of Corrections re 1
                      Complaint. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                      Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, #
                      11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16
                      Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, # 20 Exhibit 20, # 21
                      Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, # 25 Exhibit 25, # 26
                      Exhibit 26, # 27 Exhibit 27, # 28 Exhibit 28, # 29 Exhibit 29)(Graves, Jon) (Entered:
                      10/21/2022)
    10/24/2022   13   SEALED EXHIBIT(S) 16 re 12 Martinez Report,, (Graves, Jon) (Entered:
                      10/24/2022)


                                                                                                                  5
        Case 5:22-cv-03123-JWL Document 52-1 Filed 05/23/23 Page 6 of 17
Appellate Case: 23-3093      Document: 010110863687               Date Filed: 05/23/2023          Page: 7


    10/24/2022   14   DISREGARD FILING AS DOCKETED IN WRONG CASE −− SERVICE ORDER
                      ENTERED: The Clerk of the Court shall notify the Kansas Attorney General ("AG")
                      and the KDOC of this Service Order. The Court requests that Defendant waive formal
                      service of process. The AG and/or the KDOC shall have thirty (30) days from entry of
                      this Service Order to file a Waiver of Service Executed and/or a Waiver of Service
                      Unexecuted. Upon the electronic filing of the Waiver of Service Executed, KDOC
                      shall have sixty (60) days to prepare a report pursuant to Martinez v. Aaron, 570 F.2d
                      317 (10th Cir. 1978). Upon the filing of that report, the Court will screen Plaintiff's
                      Complaint and will enter an order setting an answer deadline if the Complaint survives
                      screening. Any answer deadline set forth in the waiver of service is not controlling. In
                      those cases where a Waiver of Service Unexecuted is filed, the KDOC shall have ten
                      (10) days from the filing of the Waiver of Service Unexecuted, to supply the Clerk of
                      Court with the last known forwarding addresses for former employees, said addresses
                      to be placed under seal and used only for the purpose of attempting to effect service of
                      process. Signed by Magistrate Judge James P. O'Hara on 10/24/22. Mailed to pro se
                      party James Richard Dudley by regular mail; e−mailed to the Attorney General for the
                      State of Kansas. (smnd) Modified text on 10/24/2022. (smnd) (Entered: 10/24/2022)
    10/24/2022   15   SEALED EXHIBIT(S) 17 re 12 Martinez Report,, (Graves, Jon) (Entered:
                      10/24/2022)
    10/24/2022        DOCKET ANNOTATION: The pdf document attached to the original filing of the 14
                      Service Order has been blocked from public view as it was filed in wrong case. (smnd)
                      (Entered: 10/24/2022)
    10/24/2022   16   MOTION for Identification by Plaintiff Anthony S. Kidd (smnd) (Entered:
                      10/24/2022)
    10/24/2022   17   MOTION in Limine to Exclude Evidence Regarding Disciplinary History by Plaintiff
                      Anthony S. Kidd. (smnd) (Entered: 10/24/2022)
    10/24/2022   18   MOTION in Limine to Exclude Evidence Regarding Convictions by Plaintiff Anthony
                      S. Kidd. (smnd) (Entered: 10/24/2022)
    10/27/2022   19   CONVENTIONALLY FILED AND UNDER SEAL EXHIBIT 15 IN SUPPORT of
                      12 Martinez Report received in the Topeka Clerk's Office on 10/26/22. The original
                      and copy for chambers will be maintained in the Topeka Clerk's Office. (This is a
                      TEXT ENTRY ONLY. There is no.pdf document associated with this entry.) (smnd)
                      (Entered: 10/27/2022)
    10/31/2022   20   OBJECTION to 12 Martinez Report by Plaintiff Anthony S. Kidd. (smnd) (Entered:
                      10/31/2022)
    10/31/2022   21   MOTION for Order (titled Motion to the Court to Provide Plaintiff With All Camera
                      Videos) by Plaintiff Anthony S. Kidd (smnd) (Entered: 10/31/2022)
    11/01/2022   22   RESPONSE by Defendants Jeremy Baker, Michael Falck, Tyler Jones, (fnu)
                      Simmons, Jason Vsetecka re 16 Motion for Order, 18 Motion in Limine, 17 Motion in
                      Limine (Shoger, Matthew) (Entered: 11/01/2022)
    11/03/2022   23   RESPONSE (titled Motion for "These" Exhibits That Should Be in Martinez or
                      Objecting to the Cover Up) to 12 Martinez Report by Plaintiff Anthony S. Kidd.
                      (Attachments: # 1 Exhibits) (smnd) (Entered: 11/03/2022)
    11/04/2022   24   WITHDRAWAL OF COUNSEL by Dennis D. Depew and ENTRY OF
                      APPEARANCE OF SUBSTITUTED COUNSEL by Matthew Lee Shoger on behalf of

                                                                                                                 6
        Case 5:22-cv-03123-JWL Document 52-1 Filed 05/23/23 Page 7 of 17
Appellate Case: 23-3093      Document: 010110863687              Date Filed: 05/23/2023         Page: 8


                      Jeremy Baker, Michael Falck, Tyler Jones, (fnu) Simmons, Jason Vsetecka (Shoger,
                      Matthew) (Entered: 11/04/2022)
    11/10/2022   25   REPLY TO RESPONSE TO MOTION by Plaintiff Anthony S. Kidd re: 16 Motion for
                      Identification, 17 Motion in Limine to Exclude Evidence Regarding Disciplinary
                      History and 18 Motion in Limine to Exclude Evidence Regarding Convictions. (smnd)
                      (Entered: 11/10/2022)
    11/10/2022   26   MOTION for Extension of Time to File Response as to 21 MOTION for Order by
                      Defendants Jeremy Baker, Michael Falck, Tyler Jones, (fnu) Simmons, Jason Vsetecka
                      (Shoger, Matthew) (Entered: 11/10/2022)
    11/23/2022   27   RESPONSE by Defendants Jeremy Baker, Michael Falck, Tyler Jones, (fnu)
                      Simmons, Jason Vsetecka re 21 Motion for Order (Shoger, Matthew) (Entered:
                      11/23/2022)
    11/23/2022   28   MOTION for Default by Plaintiff Anthony S. Kidd (Attachments: # 1 Cover Sheet)
                      (smnd) (Entered: 11/23/2022)
    11/30/2022   29   REPLY TO RESPONSE TO MOTION by Plaintiff Anthony S. Kidd re: 21 Motion for
                      Order. (Attachments: # 1 E−Filing Cover Sheet) (smnd) (Entered: 11/30/2022)
    12/06/2022   30   RESPONSE by Defendants Jeremy Baker, Michael Falck, Tyler Jones, (fnu)
                      Simmons, Jason Vsetecka re 28 Motion for Order (Shoger, Matthew) (Entered:
                      12/06/2022)
    12/07/2022        MOTION REFERRAL to Magistrate Judge REMOVED as to: 21 MOTION for
                      Order, 16 MOTION for Identification, 28 MOTION for Order, 26 MOTION for
                      Extension of Time to File Response as to 21 MOTION for Order . The motions
                      will be resolved by the District Judge. (smnd) (Entered: 12/07/2022)
    12/07/2022   31   MEMORANDUM AND ORDER ENTERED: This matter is dismissed for failure to
                      state a claim upon which relief may be granted. All pending motions (Docs. 16 , 17 ,
                      18 , 21 , 26 , and 28 ) are denied. Signed by District Judge John W. Lungstrum on
                      12/07/22. Mailed to pro se party Anthony S. Kidd by regular mail. (smnd) (Entered:
                      12/07/2022)
    12/07/2022   32   JUDGMENT regarding Memorandum and Order 31 dismissing matter for failure to
                      state a claim. Signed by Deputy Clerk on 12/07/22. Mailed to pro se party Anthony S.
                      Kidd by regular mail. (smnd) (Entered: 12/07/2022)
    12/14/2022   33   MOTION to Amend Complaint re 1 Complaint by Plaintiff Anthony S. Kidd (referred
                      to Magistrate Judge James P. O'Hara) (Attachments: # 1 Amended Complaint, # 2
                      E−Filing Cover Sheet) (smnd) (Entered: 12/14/2022)
    12/16/2022   34   ORDER ENTERED: Plaintiff's motion to amend complaint (Doc. 31 ) is denied as
                      moot. Signed by District Judge John W. Lungstrum on 12/16/2022. Mailed to pro se
                      party Anthony S. Kidd by regular mail. (jal) (Entered: 12/16/2022)
    12/30/2022   35   NOTICE OF APPEAL as to 31 Memorandum and Order and 32 Judgment by Plaintiff
                      Anthony S. Kidd. (Attachments: # 1 Transmittal Letter) (smnd) (Entered: 12/30/2022)
    12/30/2022   36   MOTION for Leave to Appeal in forma pauperis by Plaintiff Anthony S. Kidd.
                      (Attachments: # 1 Inmate Account Statement) (smnd) (Entered: 12/30/2022)
    12/30/2022   37   PRELIMINARY RECORD ON APPEAL transmitted to 10CCA re 35 Notice of
                      Appeal − Final Judgment. (Attachments: # 1 Preliminary Packet) (smnd) (Entered:

                                                                                                             7
        Case 5:22-cv-03123-JWL Document 52-1 Filed 05/23/23 Page 8 of 17
Appellate Case: 23-3093      Document: 010110863687              Date Filed: 05/23/2023         Page: 9


                      12/30/2022)
    12/30/2022   38   APPEAL DOCKETED in 10CCA on December 30, 2022, and assigned Appeal No.
                      22−3285 re 35 Notice of Appeal − Final Judgment filed by Anthony S. Kidd. (smnd)
                      (Entered: 12/30/2022)
    01/03/2023   39   ORDER ENTERED: Plaintiff's Motion for Leave to Appeal In Forma Pauperis (Doc.
                      36 ) is granted. Signed by District Judge John W. Lungstrum on 01/03/23. Mailed to
                      pro se party Anthony S. Kidd by regular mail. (smnd) (Entered: 01/03/2023)
    01/04/2023   40   RECORD ON APPEAL retrieved by 10CCA consisting of Volume I − Pleadings and
                      Volume II − Sealed Pleadings re 35 Notice of Appeal − Final Judgment (Volume III −
                      Conventionally Filed Exhibits added upon receipt). (Appeal No. 22−3285) (This is a
                      TEXT ENTRY ONLY. There is no.pdf document associated with this entry.) (smnd)
                      (Entered: 01/04/2023)
    01/04/2023   41   RECORD ON APPEAL transmitted to 10CCA conventionally consisting of Volumes
                      III − Conventionally Filed Exhibit (Sealed Exhibit 15 in Support of Martinez Report)
                      re 35 Notice of Appeal − Final Judgment. (Appeal No. 22−3285) (This is a TEXT
                      ENTRY ONLY. There is no.pdf document associated with this entry.) (smnd)
                      (Entered: 01/04/2023)
    01/06/2023   42   RECORD ON APPEAL retrieved by 10CCA consisting of: No. of Volumes: 3; Vol I
                      − Pleadings; Vol II − Sealed Pleadings; Vol III − Sealed Exhibit available on disk.
                      Hard copy filed in volume, re 35 Notice of Appeal − Final Judgment. (Appeal No.
                      22−3285) (This is a TEXT ENTRY ONLY. There is no.pdf document associated with
                      this entry.) (jal) (Entered: 01/06/2023)
    01/10/2023   43   RECEIPT FROM 10CCA of Record on Appeal Volume III re 35 Notice of Appeal −
                      Final Judgment. (Appeal No. 22−3285) (smnd) (Entered: 01/10/2023)
    02/02/2023   44   ORDER of 10CCA: Appellant must pay $505.00 to the clerk of the district court.
                      Appellant's custodian shall forward payments from Appellant's account equal to 20
                      percent of the preceding month's income each time the account exceeds $10.00 until
                      the filing fees are paid in full. (Appeal No. 22−3285) (smnd) (Entered: 02/02/2023)
    04/20/2023   45   APPEAL MANDATE from 10CCA: affirming decision of the District Court. (Appeal
                      No. 22−3285) (Attachments: # 1 Transmittal Letter) (smnd) (Entered: 04/20/2023)
    05/10/2023   46   MOTION for Reconsideration by Plaintiff Anthony S. Kidd (smnd) (Entered:
                      05/10/2023)
    05/10/2023        MOTION REFERRAL to Magistrate Judge REMOVED as to: 46 MOTION for
                      Reconsideration. The motion will be resolved by the District Judge. (smnd)
                      (Entered: 05/10/2023)
    05/11/2023   47   MINUTE ORDER ENTERED: Magistrate Judge James P. O'Hara no longer assigned
                      to case. Entered by Deputy Clerk on 05/11/23. Mailed to pro se party Anthony S. Kidd
                      by regular mail. (This is a TEXT ENTRY ONLY. There is no.pdf document associated
                      with this entry.) (smnd) (Entered: 05/11/2023)
    05/11/2023   48   ORDER ENTERED: Plaintiff's motion for reconsideration (Doc. 46 ) is denied.
                      Signed by District Judge John W. Lungstrum on 05/11/23. Mailed to pro se party
                      Anthony S. Kidd by regular mail. (smnd) (Entered: 05/11/2023)
    05/15/2023   49


                                                                                                             8
        Case 5:22-cv-03123-JWL Document 52-1 Filed 05/23/23 Page 9 of 17
Appellate Case: 23-3093      Document: 010110863687              Date Filed: 05/23/2023          Page: 10


                      NOTICE to the Court re: 46 Motion for Reconsideration by Plaintiff Anthony S. Kidd.
                      (smnd) (Entered: 05/15/2023)
    05/16/2023   50   ORDER ENTERED: This matter is before the Court on a filing by Plaintiff (Doc. 49 ),
                      which includes a statement from another inmate who witnessed the incident upon
                      which the complaint is based. Plaintiff may have intended the statement to support his
                      motion for reconsideration. However, the motion has been denied, and Plaintiff's latest
                      filing would not have changed that ruling. No further action will be taken by the Court.
                      Signed by District Judge John W. Lungstrum on 05/16/23. Mailed to pro se party
                      Anthony S. Kidd by regular mail. (smnd) (Entered: 05/16/2023)
    05/23/2023   51   NOTICE OF APPEAL as to 48 Order on Motion for Reconsideration by Plaintiff
                      Anthony S. Kidd. (smnd) (Entered: 05/23/2023)
    05/23/2023        APPEAL FEE STATUS: filing fee not paid re: Notice of Appeal 51 on behalf of
                      Plaintiff Anthony S. Kidd. (THIS IS A TEXT ONLY ENTRY−NO DOCUMENT IS
                      ASSOCIATED WITH THIS TRANSACTION.) (smnd) (Entered: 05/23/2023)




                                                                                                                 9
        Case 5:22-cv-03123-JWL Document 52-1 Filed 05/23/23 Page 10 of 17
Appellate Case: 23-3093   Document: 010110863687   Date Filed: 05/23/2023   Page: 11




                                                                                       10
        Case 5:22-cv-03123-JWL Document 52-1 Filed 05/23/23 Page 11 of 17
Appellate Case: 23-3093   Document: 010110863687   Date Filed: 05/23/2023   Page: 12




                                                                                       11
        Case 5:22-cv-03123-JWL Document 52-1 Filed 05/23/23 Page 12 of 17
Appellate Case: 23-3093   Document: 010110863687   Date Filed: 05/23/2023   Page: 13




                                                                                       12
        Case 5:22-cv-03123-JWL Document 52-1 Filed 05/23/23 Page 13 of 17
Appellate Case: 23-3093   Document: 010110863687   Date Filed: 05/23/2023   Page: 14




                                                                                       13
        Case 5:22-cv-03123-JWL Document 52-1 Filed 05/23/23 Page 14 of 17
Appellate Case: 23-3093   Document: 010110863687   Date Filed: 05/23/2023   Page: 15




                                                                                       14
        Case 5:22-cv-03123-JWL Document 52-1 Filed 05/23/23 Page 15 of 17
Appellate Case: 23-3093   Document: 010110863687   Date Filed: 05/23/2023   Page: 16




                                                                                       15
        Case 5:22-cv-03123-JWL Document 52-1 Filed 05/23/23 Page 16 of 17
Appellate Case: 23-3093   Document: 010110863687   Date Filed: 05/23/2023   Page: 17




                                                                                       16
         Case 5:22-cv-03123-JWL Document 52-1 Filed 05/23/23 Page 17 of 17
Appellate Case: 23-3093       Document: 010110863687           Date Filed: 05/23/2023       Page: 18



                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


  ANTHONY S. KIDD,

                        Plaintiff,

                v.                                            CASE NO. 22-3123-JWL

  JEREMY BAKER, et al.,

                        Defendants.

                                            ORDER

         Plaintiff brought this pro se civil rights complaint under 42 U.S.C. § 1983. On December

  7, 2022, the Court dismissed the complaint. (See Doc. 31, 32). Plaintiff appealed. On April 20,

  2023, the U.S. Court of Appeals for the Tenth Circuit issued a mandate affirming the dismissal.

  (Doc. 45).

         Plaintiff has now filed a motion (Doc. 46) asking this Court to reconsider the dismissal of

  his complaint. The motion is denied. Plaintiff had the chance to present his arguments on appeal.

         IT IS THEREFORE ORDERED that Plaintiff’s motion for reconsideration (Doc. 46) is

  denied.

         IT IS SO ORDERED.

         Dated May 11, 2023, in Kansas City, Kansas.



                                              S/ John W. Lungstrum
                                              JOHN W. LUNGSTRUM
                                              UNITED STATES DISTRICT JUDGE




                                                  1


                                                                                                       17
